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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION

ROBERT MILTON SALEWSKY,

       Plaintiffs,                                    No. 2:11-CV-00281

v                                                     HON. R. ALLAN EDGAR

TROOPER DANIEL BARTELL,

       Defendants.

Racine Michelle Miller (P72612)                       John G. Fedynsky (P65232)
Attorney for Plaintiff                                Attorney for Defendants
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__________________________________________/

       STIPULATED ORDER VACATING JUDGMENT AND DISMISSING CASE

       This matter is before the court on the stipulation of the Plaintiff and the Defendant

to vacate the judgment, withdraw the bill of costs, and to dismiss the case. In

accordance with the settlement agreement of the parties:


       IT IS ORDERED that the May 21, 2013, Final Judgment after Jury Trial (Dkt #63)

is VACATED.

       IT IS FURTHER ORDERED that the May 30, 2013 Plaintiff’s Proposed Bill of

Costs (Dkt #64) is WITHDRAWN.

       IT IS FURTHER ORDERED that this action is DISMISSED with prejudice.
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      It is so ORDERED. This is a final order and it closes the case. The court

retains jurisdiction solely for the purpose of enforcing the settlement agreement.




Dated: June __, 2013                          ____________________________
                                              R. ALLAN EDGAR
                                              United States District Judge



Approved as to form and content:

      /s/Racine Miller (w/consent)                  /s/John Fedynsky
      Attorney for Plaintiff                        Attorney for Defendants

Dated: June 10, 2013
